     Case 21-30589-MBK             Doc 470-1 Filed 11/19/21 Entered 11/19/21 14:19:12                Desc
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                          Case No.:      ______________________
                                                                             21-30589-MBK
In Re:

LTL MANAGEMENT LLC,                                       Chapter:       ______________________
                                                                                   11

                              Debtor.                     Judge:        ______________________
                                                                        Hon. Michael B. Kaplan




                            ORDER SHORTENING TIME PERIOD FOR NOTICE,
                              SETTING HEARING AND LIMITING NOTICE


    The relief set forth on the following pages, numbered two (2) and three (3) is hereby ORDERED.
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       After review of the application of ________________________________________
                                                    The Miller Firm, LLC           for the reduction of
time for a hearing on _________________________________________________________________________
                       The Miller Firm, LLC's Application on Behalf of Certain Talc Personal Injury
__________________________________________________________under
Claimants to Add Michael J. Miller to the TCC                   Fed. R. Bankr. P. 9006(c)(1), it is

       ORDERED as follows:

       1. A hearing will be conducted on the matter on _______________________________
                                                              November 22, 2021        at __________
                                                                                           1:00 pm in
the United States Bankruptcy Court, ____________________________________________________________,
                                                        District of New Jersey
Courtroom No.      8     .

       2. The Applicant must serve a copy of this Order, and all related documents, on the following parties:
____________________________________________________________________________________________
 All parties appearing on the CM/ECF service list for this case.

____________________________________________________________________________________________
by ☐ each, ☐ any of the following methods selected by the Court:

            ☐ fax, ☐ overnight mail, ☐ regular mail, ☐ email, ☐ hand delivery.


       3. The Applicant must also serve a copy of this Order, and all related documents, on the following parties:
____________________________________________________________________________________________
____________________________________________________________________________________________
by ☐ each, ☐ any of the following methods selected by the Court:

            ☐ fax, ☐ overnight mail, ☐ regular mail, ☐ email, ☐ hand delivery.


       4. Service must be made:

            ☐ on the same day as the date of this order, or

            ☐ within ________ day(s) of the date of this Order.


       5. Notice by telephone:

             ☐ is not required

             ☐ must be provided to ________________________________________________________

                   ☐ on the same day as the date of this Order, or

                   ☐ within _________ day(s) of the date of this Order.


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 6. A Certification of Service must be filed prior to the hearing date.


 7. Any objections to the motion/application identified above:

      ☐ must be filed with the Court and served on all parties in interest by electronic or overnight mail
      __________ day(s) prior to the scheduled hearing; or

      ☐ may be presented orally at the hearing.


 8.   ☐ Court appearances are required to prosecute the motion/application and any objections.

      ☐ Parties may request to appear by phone by contacting Chambers prior to the return date.




                                                                                                   rev.2/1/16



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